Case 1:11-cv-00691-LAK-RWL Document 283-1 Filed 04/20/11 Page 1of3

APPENDIX A
Case 1:11-cv-00691-LAK-RWL Document 283-1 Filed 04/20/11 Page 2 of 3

Vv xipuoddy quiejduioy papusury :70 ja sasizuog ‘A ‘diod uosaay)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Jopendy jo oqnday BURT[AIO epulnsy epuinsy eIpuexa|V CIPI] | 97
Jopenoy jo oyqnday BURT[AO VZIBDIY) SaeId] [ans] aso¢ | “SZ
Jopendy Jo aqnday eur] [AIO DIOT'] OfAAdY [atIgey aso | “PZ
Jopenoy jo oqnday sorquinons alensedegd afenseld Jarre | °¢Z
lopenoy jo o1jqnday eUeT]AIO ofueseN oyseues) OpsIeIay osny | 77
Jopenog jo oqnday eUR|[UIO BOBIEND UoIeJeg OIOPOIIH | [TZ
Jopenog jo oqnday soiquimons aqueyisn’y] afensekeg aussi A, OWN[IND | “OZ
Jopendy jo ojqnday BURT[AIO BJaIH epmsuey erosion] eHO[D | *6]
Jopenoy Jo oiqnday BURT[AIO BJdIH eyinsue]y 1091 A, Oosioue] |S]
Jopenoy Jo o1jqnday eur] [AIO OquIN A OPeIeATY Sele] OOSIOURI] | “Z|
Jopenoy jo ajqnday BUR] [AIO oquin x OpeleATY OosIoURL] | °9]
Jopenoy jo ajqnday SOIquINONS afenseded afenselg ulwuey |S]
Jopenoy jo ojqnday solquinons afensre x spueyisny] uneyy oly | pT
lopensg jo ojqnday soIquinons afenyeded afenyedrg oplaqoy sey |]
Jopensg jo oijqnday SoIquInoNs ofensedeg afensedeg sepruoa] uljjeq | °Z]
Jopensq jo ajqnday SOIquINONS afendie x apueyisn’] sopied jorueg |]
Jopenoy Jo o1jqnday BURT[AIO epuInsy epuInsy OINWeY IPD | Ol
Jopenoq jo syqnday BURT[IIO eNSULSN) SOIOALA JUdT] BID | “6
Jopendy Jo sqnday RUT AO IeZejes epuINsY eluoUy euljeyed | “8
lopendg jo oqnday BURT[IO eoojyejeny esaiy sopied | “7
Jopenogq jo ojqnday BURT[AO Binur] oquin,y eruojuy eyyieg | ‘9
Jopendy jo aqndoy soIquinons BJaIN Oquilyy Appesj oloueusg | “¢
Jopenog Jo ajqnday eURT[AIO RlInsue] CJL) Sapadiay\] ZVIg | “p
lopenog jo orgqnday sorquinons afensedseg alenselg oplyyi A, Opueuty | “¢
Jopenog jo sjqnday umouyuy) ajuejiony alenserg ounsne jasuy | “7
lopenog jo oqnday soriquimons afensecseg alensedeg opeuog opayiTy | “|
diysusziyig jo Ajunodg drysusziyid Jo suls01g yuepuazoq

 

( syuvpuojod) .Syuuleld Olisy ose] oy|.,,

VW xipuoddy jurejdwoy popusury : 70 Ja sastz2u0g “a ‘di09 uosaayy

 
Case 1:11-cv-00691-LAK-RWL Document 283-1 Filed 04/20/11 Page 3 of 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

V xipuoddy jurejdwog pepusury :70 ja sasizuog ‘A ‘diod uosaayy Z
Jopensq Jo ojqnday sorquinons olensedeg sfenselg ofezuoy o1opoay |*7p
Jopenoq Jo ajqnday sorquimnons afensie A spueysn’y] uous | “op
Jopensg jo o1jqnday eBUR[IIO URI elUueUY [osu Opunsas | cp
Jopenog Jo ayqnday eUuel[aIO RInsuel OquIYyD esaiay esoy | phy
Jopenoq jo o1jqnday sorquinons olensie x spueyisn’] opreuley | “¢p
Jopenoq Jo aqnday BURT[AIO epulnsy epuinsy uUos[InA, O1oyeg |"Zp
Jopenog jo ayqnday BURT[IIO oquin A oqunyy ovsq]y o1oiyeg [Tp
Jopenog Jo ajqnday eUeT[AIO BPlOD BJIID BOTH e31Q | Op
Jopenog jo aijqnday sorquinons BOURNE] BAOPIOZ) [SBWIS] OLABINO | 6S
Jopenoq Jo ajqnday BULT]UIO ZOVAICN PIINGULT SPL BSIOIEN [Se
Jopenoq jo ajqnday sorquinons alensedAevg afenseAeg our jansiyy |-7¢
Jopenoq jo ayqnday eUR|[AO souddieg ZONSLIpoY eusyepseyy eLeyy | “9
Jopenog Jo ajqnday Bue] BNSUBSND SOJOAIA BIOUDHOH euieypy |S
Jopenoq Jo ajqnday BUR] [IO OJOADY SOdsRdyY IID eel | PE
Jopenog Jo ajqnday BURI[IO Jeze[es epuinsy elolA ele [ce
Jopenogq jo oyqnday BUR] [AIO ZOVAION Blinsuel eljaq esiny |*7¢
Jopenog Jo aqndoy BUPT[AIO oquiny oquy) opueuly sin] | -[¢
Jopenoy jo ojqnday sorquimons olenseig alensedeg unsnsy sinyq |9¢
Jopenoq Jo ajqnday BURT [AIO Bpinsuel Byorg onbiugq o1on’y |-6z
Jopenoq Jo ajqnday BURT[HIO BInsuel OquilyD ziuyeog sapino’T |-3z
Jopenog Jo ojqnday euR][aIO oquinA Opesealy oso¢ OzuUsI0'T |°77

diysuszyiy jo Aayunog diystaziyD JO sduLAoAg juepusjoq

 

 

 

 

 

 
